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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 CENTER FOR BIOLOGICAL DIVERSITY, ET
 AL.
                   Plaintiffs,
             v.
                                                             CASE NO. 1:21-cv-00119 (RDM)
 U.S. ENVIRONMENTAL PROTECTION
 AGENCY, ET AL.
                   Defendants.



                                 ______________________________

                  STATE OF FLORIDA AND FLORIDA DEPARTMENT OF
                         ENVIRONMENTAL PROTECTION’S
                               MOTION TO INTERVENE
                            ______________________________

        Pursuant to Federal Rule of Civil Procedure 24, the State of Florida and Florida Department

of Environmental Protection (collectively, “Florida Applicants”) respectfully submit this motion

to intervene in the above-captioned proceedings. Plaintiffs challenge a final approval granted on

December 17, 2020, by the U.S. Environmental Protection Agency (“EPA”) for Florida

Applicants’ request to administer a Clean Water Act (“CWA”) Section 404 Program (“Section 404

Program”). See EPA’s Approval of Florida’s Clean Water Act Section 404 Assumption Request,

85 Fed. Reg. 83,553 (Dec. 22, 2020). Pursuant to that approval, Florida Applicants are now

administering the Section 404 Program in Florida, which is consistent with the policy of Congress

as reflected in 33 U.S.C. § 1251(b). As such, Florida Applicants have a direct and substantial

interest in this case and are entitled to intervene as a party in these proceedings as a matter of right.

In the alternative, Florida Applicants should be granted intervention as a matter of this Court’s
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discretion. Pursuant to Local Civil Rule 7(a), Florida Applicants set forth their arguments

supporting this motion in detail in the attached statement of points and authorities.

       In accordance with Local Civil Rule 7(m), counsel for Florida Applicants has conferred

with counsel for the parties. Counsel for Federal Defendants indicated that Federal Defendants

take no position on this motion at this time. Counsel for Plaintiffs provided no response on the

Plaintiffs’ position on this motion.



 Dated: January 19, 2021.                            Respectfully submitted,
                                                     BAKER BOTTS L.L.P.

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                                                     *Appearing under LCvR 83.2(c)(1)
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                               CERTIFICATE OF SERVICE

      I hereby certify that on this 19th day of January 2021, I electronically filed the foregoing

document using the CM/ECF system. Service was accomplished by the CM/ECF system.


                                                   Respectfully submitted,
                                                   BAKER BOTTS L.L.P.

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